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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


 UNITED STATES OF AMERICA,

                    Plaintiff,                                  8:14CR409

      vs.
                                                                JUDGMENT
 SHANE SEIZYS

                    Defendant.


      In accordance with the Memorandum and Order issued this day,

      IT IS ORDERED:

      1. Defendant Shane Seizys’s Motion Under 28 U.S.C. § 2255 to Vacate, Set

         Aside, or Correct Sentence by a Person in Federal Custody, ECF No. 382, is

         denied;

      2. Defendant Shane Seizys’s Motion to Extend, ECF No. 381, and Motion to

         Compel, ECF No. 380, are denied as moot;

      3. The Clerk will mail a copy of this Judgment to Defendant Shane Seizys at his

         last known address.



      Dated this 28th day of June, 2018.


                                                 BY THE COURT:

                                                 s/Laurie Smith Camp
                                                 Chief United States District Judge
